Court of Appeals
of the State of Georgia

                                                              ATLANTA, October 19, 2017

The Court of Appeals hereby passes the following order

A18I0041. SKIPPER’S RESTAURANT, INC. v. PEGGY HANNAH.


     Upon consideration of the Application for Interlocutory Appeal, it is ordered that it be

hereby DENIED.


LC NUMBERS:

15CV63630




                                      Court of Appeals of the State of Georgia
                                           Clerk's Office, Atlanta, October 19, 2017.

                                           I certify that the above is a true extract from the minutes
                                      of the Court of Appeals of Georgia.

                                           Witness my signature and the seal of said court hereto
                                      affixed the day and year last above written.

                                                                         , Clerk.
